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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                                )
1600 Hicks Road LLC,                                  )       Bankruptcy No. 22 B 13205
                         Debtor                       )
___________________________________                   )       Chapter 11
                                                      )
1600 Hicks Road LLC                                   )       Judge David D. Cleary
                               Plaintiff              )
               v.                                     )       Adv. No.
                                                      )
EH National Bank                                      )
                               Defendant              )
                                                      )

                               COMPLAINT FOR INJUNCTION

       Now comes the Plaintiff, 1600 Hicks Road LLC, by and through his attorney, David P.

Lloyd, and complaining of the defendant EH National Bank states as follows:

                                 JURISDICTION AND VENUE

       1. The Court has jurisdiction over this matter pursuant to 28 USC 1334 (b) and (d) in that it

is a civil proceeding arising under, arising in, or related to a bankruptcy case under Title 11 of the

United States Code.

       2. This complaint seeks extension of the automatic stay under 11 USC §362 an injunction

against a creditor under 11 USC §105.

       3. This complaint initiates a core proceeding pursuant to 28 USC§157(b)(2) (A) and (O).

       4. Venue in this District is proper pursuant to 28 USC §1409(a).

                             FACTS COMMON TO ALL COUNTS

       5. Plaintiff is the Debtor in this bankruptcy case, having filed a voluntary Chapter 11 petition

on November 14, 2022.

       6. The Debtor has been operating its business and managing its financial affairs as debtor-in-
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possession since the petition date. No trustee or examiner has been appointed.

       7. The Debtor is the owner of real estate located at 1600 Hicks Road, Rolling Meadows,

Illinois (the “Property”). The property is occupied by Exotic Motors, Inc., which operates a used car

dealership, dealing with luxury and higher value vehicles, at the premises. The Debtor’s sole source

of income is rent from Exotic Motors, Inc.

       8. The principals of the Debtor, Anam and Saleem Qadri, are also principals of Exotic

Motors, Inc., and are responsible for the operations of Exotic Motors.

       9. On February 17, 2022, the Defendant, EH National Bank, obtained a judgment against the

Debtor, Anam Qadri, and Saleem Qadri in the amount of $1,947,344.37, in Case No. 14 CH 04670,

a foreclosure case in the Circuit Court of Cook County, Illinois.

       10. On August 22, 2022, pursuant to said judgment, Judicial Sales Corporation sold the

Property to Probidder LLC for a bid of $1,280,001.00.

       11. On August 26, 2022, Defendant filed a motion for an order approving the sale, set for

hearing on September 14, 2022. The motion sought approval of the sale and entry of a deficiency

judgment in the amount of $1,597.720.47 against the Debtor, Anam Qadri, and Saleem Qadri.

       12. The motion to approve sale has been continued from time to time, and is currently set for

hearing on February 1, 2023.

       13. The Debtor’s principals, Anam Qadri and Saleem Qadri, will be limited in their ability

to devote sufficient time, energy, and resources to the operation of both the Debtor and Exotic

Motors if they are forced to defend against liquidation efforts of EH National Bank.

       14. There will be imminent, irreparable harm to the estate and the Debtor’s ability to

reorganize if the collection efforts of EH National Bank are not enjoined.

       15. The Debtor is continuing its operations and there is at least a reasonable likelihood of a
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successful reorganization in this Chapter 11 case. The Debtor intends to pay EH National Bank,

along with all other creditors, in full, with interest, on its unsecured deficiency claim.

        16. If the collection efforts of EH National Bank are enjoined, EH National Bank will not

suffer any material damage, as it retains its general unsecured claim in this case and its judgment

against Anam and Saleem Qadri.

        17. If the Debtor’s principals are unable to properly manage the operations of Exotic

Motors, Inc., due to the enforcement actions of EH National Bank, and Exotic Motors is unable to

pay rent to the Debtor, the Debtor will not be able to fund a plan, and creditors in this case will not

be paid.

        18. Exotic Motors, Inc., funded the purchase of the Property by the foreclosure bidder,

Probidder LLC. Exotic Motors had previously paid rent to the Debtor in the form of direct payments

of the Debtor’s mortgage to EH National Bank, but once EH National Bank refused to accept

monthly mortgage payments, Exotic Motors stopped rent payments. Exotic Motors and the Debtor

are in the process of computing the amount of bank rent compared with the amount Exotic Motors

paid to the foreclosure purchaser, and will compute future rental payments based on fair market

rent. The payment to the Debtor by Exotic Motors and the payment by the Debtor to Exotic Motors

to repay the amount that Exotic Motors paid to the foreclosure purchaser will be offset and will

result in a net payment by Exotic Motors to the Debtor that is expected to be sufficient to fund a

plan.

        19. The Debtor has no adequate remedy at law.

        20. No public interest would be adversely affected by granting the injunctive relief herein.

        WHEREFORE the Debtor, 1600 Hicks Road LLC, prays that all collection activities by EH

National Bank against the co-debtors, Anam Qadri and Saleem Qadri, be enjoined until
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confirmation of a plan, conversion, dismissal of the bankruptcy case, or further order of this Court,

and for such other and further relief as this honorable Court may deem meet.


                                                      Respectfully submitted,
                                                      1600 Hicks Road LLC


                                                      By:___/s/ David P. Lloyd____________
                                                            One of its attorneys




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